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                        IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH


 DIGITAL VERIFICATION SYSTEMS,                      NOTICE OF VOLUNTARY DISMISSAL
 LLC                                                WITHOUT PREJUDICE
        Plaintiff,
                                                    Case No. 2:21-cv-00522-HCN-CMR
 v.

 EFILECABINET, INC.,                                District Judge Howard C. Nielson, Jr.

        Defendant.                                  Magistrate Judge Cecilia M. Romero




       Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.


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Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant eFileCabinet,

Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and

costs.

Dated: November 24, 2021.                      Respectfully submitted,

                                               /s/ Geoffrey E. Dobbin
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically on
November ____, 2021 and was served via CM/ECF on all counsel who are deemed to have
consented to electronic service.

                                               /s/ Geoffrey E. Dobbin
                                               Geoffrey E. Dobbin




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